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             PSJ3
           Exhibit 506
                   Case: 1:17-md-02804-DAP Doc #: 2364-61 Filed: 08/14/19 2 of 3. PageID #: 385461
     From:                               Reder, Robert </0=ENDO PHARMACEUTICALS INC/OU=ENDO/CN=RECIPIENTS
                                         /CN=REDER.ROBERT>
     To:                                 Carbery, Daniel; Pathak, Ranjana
     Sent:                               1/9/2008 5:59:51 PM
     Subject:                            FW: DEA Notice
     Attachments:                        Letter and advisory.pdf



     fyi

     Best regards,

     Robert

     Robert F. REDER, M.D.
     VP, Medical Department/Senior Medical Officer
     Endo Pharmaceuticals
     100 Endo Boulevard
     Chadds Ford, PA 19317
     USA
     1-610-459-6401
     reder.robert@endo.com

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     From: Munroe, Brian
     Sent: Wednesday, January 09, 2008 12:32 PM
     To: Reder, Robert; Kerr, David; Manogue, Caroline; Amann, Tony; Baglin, Mark; Barto, Bob; Campbell, Michele; Cooper,
     Steven; deJong, Bert; jen wagner; jeniferwagner©adelphia.net; Kitlinski, Linda; Kong, Carolyn; Lee, David; Macpherson,
     Doug; Mullen, Heather; Newbould, Bill; Patterson, Carol; Perrin, Colleen; White, Richard; Santilli, Nancy
     Subject: DEA Notice

     The HDMA is objecting to the attached DEA notice and is presenting to the Pain Care Forum tomorrow. This is worth
     looking at it as it represents the continuing "creep" of the DEA into activities that contribute to the overall chilling effect of
     prescribing pain medicines. Please feel free to pass along to anyone I missed. Thanks, Brian

     Brian Munroe
     Vice President, Government Affairs
     Endo Pharmaceuticals Inc.
     499 South Capitol St., SW, Suite 608A
     Washington, DC 20003

     202-479-4449 ph
    Material Redacted
     202-479-4344 fax
     munroe. brian@endo.com

     From: Rosen, Burt [mailto:Burt.Rosen©pharma.com]
     Sent: Wednesday, January 09, 2008 10:00 AM
     To: Shaw, Solana; Aaron Gilson; Adam Chrisney; Adam Clark; Barry Eliot Cole; Bennett, Pamela (Gov't Affairs); Brad Gary;
     Brad Maruca; Munroe, Brian; Caroline Moody; Christy Torkildson; Claudia Campbell ; Courtney Snowden; Cohen, Dan;
     David E. Joranson; David Swankin; David Woodmansee; Gail Amalia B. Katz; Mullen, Heather; Ilisa Halpern Paul; Janet
     McUlsky; Jason Grove; Jeff Myers; Jennifer Connelly; Jerold Roschwalb; Jim Broatch; Jonathan Keyserling; Joy Buck; Judy
     Lentz; June Dahl PhD; Karina Tabor; Kathryn Tucker; Kristin Morris; Kristina Lunner; Lisa Robin; Mark Rasmussen; Marsha
     Stanton; Mary Bennett; Mary Pat Aardrup; Michael Splaine; Michelle Lonchar; Micke A. Brown; Myra Christopher; Nancy
     Buermeyer; Ned Masin; Paul Arnstein; Penney Cowan ; Peter Slone; Rebecca Kirch; Reder, Robert; Robert Saner; Robert
     Twillman; Scott M. Fishman; Stephen Porada; Steve LaPierre; Susan Rogers; Tamara Sloan Anderson; Theresa Doyle;


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               Case: 1:17-md-02804-DAP Doc #: 2364-61 Filed: 08/14/19 3 of 3. PageID #: 385462
     William Rowe
     Cc: Melville, Scott
     Subject: HDMA materials for Thursday's PCF meeting

     Scott Melville, SVP at HDMA will be presenting at the PCF meeting on Thursday.
     Here are some materials that he has provided.




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